Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 1 of 36 Page ID #:1



  1   Toni J. Jaramilla, Esq. (SBN 174625)
      TONI J. JARAMILLA, A Professional Law Corp.
  2
      1900 Avenue of the Stars, Suite 900
  3   Los Angeles, California 90067
      Telephone: (310) 551-3020
  4
      Email: toni@tjjlaw.com
  5

  6   J. Bernard Alexander, III (SBN 128307)
      John L. Schwab (SBN 307599)
  7   ALEXANDER MORRISON + FEHR LLP
  8   1900 Avenue of the Stars, Suite 900
      Los Angeles, California 90067
  9
      T: (310) 394-0888 | F: (310) 394-0811
 10   Emails: balexander@amfllp.com | jschwab@amfllp.com
 11   Attorneys for Plaintiffs,
 12
      MARIAH HEREFORD, MONETT HEREFORD, RYAN
      GADISON
 13

 14                     UNITED STATES DISTRICT COURT
 15        CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
 16   MARIAH HEREFORD, an              Case No.:
 17   individual; MONETT
      HEREFORD, an individual; and      COMPLAINT FOR:
 18   RYAN GADISON, an individual
                                        1.   Violation of Bane Civil Rights Act (Cal.
 19
                        Plaintiffs,          Civil Code § 52.1)
 20                                     2.   Violation of Ralph Civil Rights Act (Cal.
 21
                  v.                         Civil Code § 52.7)
 22   CITY OF HEMET, a municipal        3.   Assault and Battery
      entity; and DOES 1 through 25,    4.   Intentional   Infliction   of   Emotional
 23   inclusive,                             Distress
 24
                        Defendants.     5.   False Arrest and Imprisonment
 25                                     6.   Trespass to Chattels
 26                                     7.   Negligence
 27

 28
                                           -1-
                           COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 2 of 36 Page ID #:2


                                        8.   Deprivation of Civil Rights Based on
  1                                          Excessive and Unreasonable Use of
  2                                          Force, 42 U.S.C. § 1983

  3
                                        9.   Deprivation of Civil Rights, Monell
                                             Claim for Municipal Liability, 42 U.S.C.
  4                                          § 1983
  5                                     10. Deprivation of Civil Rights and Equal
                                            Protection – Unlawful Detention,
  6
                                            Seizure, and Arrest, 42 U.S.C. § 1983
  7
                                        11. Deprivation of Civil Rights Based on
  8                                         Violation of the First Amendment
  9                                         (Freedom of Speech), 42 U.S.C. § 1983

 10                                    DEMAND FOR JURY TRIAL
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                           -2-
                           COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 3 of 36 Page ID #:3



  1         Plaintiffs MARIAH HEREFORD, MONETT HEREFORD, and RYAN
  2   GADISON, by and through their attorneys of record, complain and allege as
  3   follows:
  4                                    INTRODUCTION
  5         1.     This is a civil rights and state tort action that seeks general damages
  6   from the City of Hemet (“CITY”) and general and punitive damages from several
  7   individuals, for engaging in the senseless beating of two unarmed women, a man
  8   and their pets.
  9         2.     Hemet Police Gang Officers (“Officers”) observed an African
 10   American man, Plaintiff GADISON, driving a newer model 2020 Dodge
 11   Challenger in the opposite direction. Plaintiff GADISON was just blocks from the
 12   home of his fiancé, MARIAH HEREFORD, and her mother, MONETT
 13   HEREFORD, when Hemet Officers made a U-turn behind him. Upon Plaintiff
 14   GADISON’s arrival in the driveway, Officers immediately pulled in behind him
 15   and initiated a traffic stop and questioned him as though he was guilty of some
 16   crime. With no reasonable suspicion or probable cause, the Hemet Officers asked
 17   Plaintiff for permission to search his vehicle. When Plaintiff GADISON refused,
 18   Officers forcibly removed him from his vehicle and began to aggressively handcuff
 19   and detain him.
 20         3.     Plaintiff GADISON’s fiancé MARIAH HEREFORD and her mother
 21   MONETT HEREFORD exited their home and began questioning the officers about
 22   their rough and unreasonable treatment of Plaintiff GADISON, and simultaneously
 23   began filming the officers’ conduct, to which the Officers took offense. In
 24   complete disregard for the rights of Plaintiffs, and in response to the Plaintiffs’
 25   efforts to create a video record of the Officers’ misconduct, Plaintiffs’ phones were
 26   struck from their hands and both MARIAH and MONETT HEREFORD were
 27   physically struck and beaten by male Hemet Officers who physically towered over
 28
                                              -3-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 4 of 36 Page ID #:4



  1   them. Adding insult to injury, the Officers then beat the Plaintiffs’ pet dogs, despite
  2   the dogs being restrained by chains that prevented them from having the ability to
  3   reach the Officers. Plaintiffs seek substantial damages for the harm caused by
  4   Defendants’ illegal, unconstitutional, senseless, unprovoked acts of detention,
  5   seizure, assault, battery, excessive force, false imprisonment and arrest of Plaintiffs.
  6                               JURISDICTION AND VENUE
  7          4.     This Court has original jurisdiction pursuant to 28 U.S.C §§ 1331 and
  8   1343(a)(3)-(4) because Plaintiffs assert claims under the laws of the United States,
  9   including 42 U.S.C. § 1983, 1985, 1986, and 1988, and the First, Fourth, and
 10   Fourteenth Amendments of the United States Constitution. This Court has
 11   supplemental jurisdiction over Plaintiffs’ claims arising under state law pursuant to
 12   28 U.S.C §§1331,1343, and 1367(a), because those claims are so related to the
 13   federal claims that they form part of the same case or controversy under Article III
 14   of the United States Constitution.
 15          5.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because
 16   Defendants reside in this district and all incidents, events, and occurrences giving
 17   rise to this action occurred in this district.
 18                                               PARTIES
 19          6.     Plaintiff MARIAH HEREFORD (“MARIAH”) is a 29-year-old
 20   African American woman who, at all relevant times mentioned herein, resided and
 21   continues to reside in the City of Hemet, County of Riverside, State of California.
 22          7.     Plaintiff MONETT HEREFORED (“MONETT”) is a 54-year-old
 23   African American woman who, at all relevant times mentioned herein, resided and
 24   continues to reside in the City of Hemet, County of Riverside, State of California.
 25   MONETT is MARIAH’s mother.
 26          8.     Plaintiff RYAN GADISON (“GADISON”) is a 33-year-old African
 27   American male who, at all relevant times mentioned herein, resided and continues
 28
                                               -4-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 5 of 36 Page ID #:5



  1   to reside in the City of Hemet, County of Riverside, State of California. GADISON
  2   is MARIAH’s fiancé.
  3         9.     Plaintiffs MARIAH, MONETT, and GADISON are collectively
  4   referred to in this Complaint as “PLAINTIFFS.”
  5         10.    Defendant CITY OF HEMET (“CITY”) is a California municipal
  6   corporation existing under the Constitution and laws of the State of California.
  7   CITY is a governmental subdivision of the State of California with the capacity to
  8   be sued. The Hemet Police Department (“HPD”) is a local government entity and
  9   an agency of the CITY, and all actions of the HPD are the legal responsibility of the
 10   CITY. The CITY is responsible for the actions, omissions, policies, procedures,
 11   practices, and customs of its various agents and employees. At all relevant times
 12   mentioned herein, the CITY was responsible for assuring that the actions, policies,
 13   procedures, practices, and customs of its employees and agents, including the HPD
 14   and DOES 1 through 25, inclusive, complied with the laws of the United States and
 15   the State of California.
 16         11.    PLAINTIFFS are informed and believe, and based thereon allege, that
 17   each of DOES 1 through 25, inclusive, were engaged in law enforcement as
 18   officers, chiefs, deputies, deputy sergeants, captains, lieutenants, and/or civilian
 19   employees, agents, and representatives of the CITY, and were acting in the course
 20   and scope of their employment at all times relevant to the acts and omissions herein
 21   alleged.
 22         12.    PLAINTIFFS are unaware of the true names and capacities of
 23   Defendants sued herein as DOES 1 through 25, inclusive, and therefore sues these
 24   Defendants by such fictitious names. PLAINTIFFS will amend this Complaint to
 25   allege their true names and capacities when ascertained. As such, the DOE
 26   Defendants are sued in both their individual, personal, and official capacities.
 27         13.    All of the acts complained of herein by PLAINTIFFS were performed
 28
                                                 -5-
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 6 of 36 Page ID #:6



  1   by Defendants by and through their authorized agents and employees, namely
  2   DOES 1 through 25, inclusive, whom at all relevant times mentioned herein, were
  3   acting within the course, purpose, and scope of said service and/or employment
  4   with the CITY. Moreover, the CITY ratified the conduct of DOES 1 through 25,
  5   inclusive, and all of the acts complained of herein. The CITY is liable for
  6   PLAINTIFFS’ injuries under California law and under the doctrine of respondeat
  7   superior. Liability under California law for public entities and public employees is
  8   based upon California Government Code §§ 815.2 and 820.
  9          14.     The CITY and DOES 1 through 25, inclusive, each of whom was
 10   acting as the agent of the other, are collectively referred to in this Complaint as
 11   “DEFENDANTS.”
 12                                      FACTUAL ALLEGATIONS
 13          15.     On the evening of March 31, 2021, GADISON, an African American
 14   male, was lawfully driving his 2020 Dodge Challenger vehicle down Oakland
 15   Avenue in the City of Hemet. Two Caucasian officers, members of the HPD “Gang
 16   Task Force,”1 spotted GADISON driving his vehicle in the opposite direction, made
 17   a U-turn, and pulled in behind GADISON as he parked in the driveway of
 18   MARIAH and MONETT’s home located on Oakland Avenue. GADISON and
 19   MARIAH are engaged to be married, with four minor children, ages three, five,
 20   eight, and nine.
 21          16.     GADISON is not and was not ever a member of any criminal gang or
 22   organization. There were no indicators of GADISON having any gang affiliation,
 23   either on his person or based on indicia present on, around or in his vehicle.
 24   GADISON was simply driving home after a long, full day of work. The HPD
 25   officers had no reasonable suspicion or probable cause to initiate a traffic stop of
 26
             1
 27            The City states on its website that the purpose of the task force is to “comb[at] criminal
      street gangs.” See https://www.hemetca.gov/278/Gang-Task-Force.
 28
                                                 -6-
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 7 of 36 Page ID #:7



  1   GADISON. Based on the actions of the officers, the absence of reasonable
  2   suspicion or probable cause, GADISON was targeted because of the color of his
  3   skin and the fact that he was an African American male driving a “nice” car.2
  4          17.     With squad car lights flashing, one HPD officer approached
  5   GADISON’s vehicle and used a flashlight to peer inside, before initiating any
  6   verbal contact. One HPD officer initially claimed that GADISON had been stopped
  7   for not having a front license plate. One of the HPD officers then asked for
  8   permission to search GADISON’s vehicle. GADISON refused.
  9          18.     HPD officers then aggressively began to remove GADISON from his
 10   vehicle and arrest him, supposedly for having a suspended driver’s license. By this
 11   artifice, HPD officers used GADISON’s unlawful arrest as justification to
 12   confiscate and then search his vehicle. GADISON’s vehicle was ransacked and
 13   impounded, but no charges were filed against GADISON based on the search
 14   because nothing illegal was found:
 15                           Photos of GADISON’s Vehicle After the Search
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25
             2
                “Race-based traffic stops turn one of the most ordinary and quintessentially American
 26   activities into an experience fraught with danger and risk for people of color.” See e.g., David A.
      Harris, Driving While Black: Racial Profiling on our Nation’s Highways, ACLU Special Report
 27   (June 1999), available at https://www.aclu.org/report/driving-while-black-racial-profiling-our-
 28   nations-highways.
                                                 -7-
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 8 of 36 Page ID #:8



  1         19.    Prior to and during the unlawful detention and arrest of GADISON
  2   inside the driveway, MARIAH and MONETT began exercising their First
  3   Amendment rights by filming the HPD officers. As HPD officers aggressively
  4   removed GADISON from his vehicle, in an attempt to moderate the officers’ use of
  5   excessive force, MARIAH and MONETT repeatedly told the HPD officers that
  6   they were being filmed. GADISON was physically pinned and handcuffed against
  7   his car, with his car door open. MARIAH and MONETT continued to remind the
  8   HPD officers that they were being filmed and that GADISON’s minor children
  9   were present, panicked, crying and watching the treatment of their father.
 10         20.    GADISON and the two HPD officers were separated by the open
 11   driver’s side door, with MARIAH and MONETT filming from the opposite side of
 12   the door. After GADISON was handcuffed, an HPD officer moved around the open
 13   door to where MARIAH stood and aggressively threatened to arrest MARIAH and
 14   her mother MONETT for “obstructing justice,” stating “I will take you to jail if you
 15   don’t back up!” This threat was made even though MARIAH and MONETT were
 16   separated by the driver’s side door and the two officers and were not in the
 17   immediate vicinity of the arrest. Rather, both MARIAH and MONETT were on
 18   their private property, lawfully exercising their First Amendment right to film HPD
 19   officers’ actions.
 20         21.    Then, as one HPD officers physically pushed GADISON towards a
 21   squad car, a second HPD officer knocked MONETT’s phone to the ground,
 22   invoking the excuse that she had somehow interfered with GADISON’s arrest
 23   despite being on the opposite side of the driver’s door. In fact, the HPD officer
 24   knocked MONETT’s phone to the ground in retaliation for her persistent actions in
 25   continuing to film the HPD’s acts of excessive force and to verbally protest the
 26   actions as unconstitutional.
 27         22.    After MONETT, a 54-year-old woman, had her phone knocked to the
 28
                                              -8-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 9 of 36 Page ID #:9



  1   ground, she was man-handled, thrown up against GADISON’s vehicle, and placed
  2   in severely tightened handcuffs. MONETT’s hands were needlessly and forcefully
  3   shoved up against her back with the objective of causing pain and serious bodily
  4   injury. Over MONETT’s objection, male HPD officers engaged in an invasive full
  5   body “search and frisk,” grabbing and probing MONETT between her legs and
  6   groin area, despite the presence of female officers fully capable of conducting a less
  7   offensive or invasive search of MONETT. MONETT was ultimately arrested and
  8   placed inside a patrol car.
  9                       Photo Depicting MONETT’s Unlawful Arrest

 10

 11

 12

 13

 14

 15

 16

 17         23.    MARIAH stood in front of her home filming the HPD officers’ acts of
 18   excessive force, and repeatedly asking whether the HPD officers had a search
 19   warrant, as HPD officers searched GADISON’s vehicle without his permission.
 20   Observing this, a Caucasian HPD officer swiftly approached MARIAH, pushed her
 21   backward, swatted at her and struck her phone out of her hand and physically
 22   knocked her to the ground.
 23         24.    The HPD officer roughly grab MARIAH by her hair, yanked her head
 24   back and slammed her face against the ground, multiple times. When MARIAH
 25   pleaded for the HPD officer to let her go, his response was: “Shut your fucking
 26   mouth!” The HPD officer then hooked his fingers into the underside of MARIAH’s
 27   jaw, as if she were a fish, and yanked her upward from the ground, both choking
 28
                                              -9-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 10 of 36 Page ID #:10



   1   and restricting her airway. MARIAH wailed in agony, causing her to lose
   2   consciousness several times. While she was on the ground motionless, MARIAH
   3   was handcuffed with her hands behind her, and due to her injuries, had to be
   4   assisted to the squad car. MARIAH was hospitalized on the night of the incident
   5   and later treated and diagnosed with “closed head injury; left shoulder pain; low
   6   back pain; neck pain; [and] whiplash.”
   7         25.    Manhandling women was apparently not an aberration with HPD
   8   officers. A fifty-four (54) year old grandmother, a twenty-nine (29) year old
   9   mother, neither of whom posed any threat. It made no difference. All the while the
  10   children screamed and cried as they watched their mother and grandmother being
  11   beaten. The children repeatedly begged HPD officers to please stop. These
  12   heartless HPD officers were intent on treating these African American citizens as
  13   less than human. Their pleas for mercy had no effect, made no difference.
  14

  15

  16

  17

  18

  19

  20

  21                    Photos Depicting MARIAH’s Head Injury

  22

  23         26.    MARIAH and MONETT had three beloved pets who were each
  24   attached to 4-foot chains that were tethered to their individual dog houses. The dogs
  25   barked feverishly at watching their owners being beaten, but they could not get
  26   loose from their dog houses and were outside the range of the HPD officers, who
  27   had every ability to simply avoid them. Hatefully, HPD officers approached “Blue”
  28
                                             - 10 -
                              COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 11 of 36 Page ID #:11



   1   and lifted him up by the collar and violently threw him to the ground. A second
   2   HPD officer used a baton to brutally beat their second dog, “Rocky,” who required
   3   veterinary treatment.
   4         27.    HPD officers summoned paramedics to the scene to provide
   5   emergency medical attention. MONETT and MARIAH were neither offered nor
   6   did they receive any medical attention at the scene. In contrast, one of the HPD
   7   officers claimed to have suffered a “deep tissue wound” from his attack of one of
   8   the three dogs. That officer is the only person who received medical attention after
   9   this parade of excessive force on innocent African American citizens. GADISON
  10   and MARIAH were taken to jail. MONETT was issued a citation. All this arising
  11   from HPD officers’ insistence and machinations to justify performing an otherwise
  12   illegal search of an African American man’s car, simply because he was African
  13   American.
  14         28.    The physical and psychological terror inflicted upon PLAINTIFFS by
  15   the HPD has and continues to cause severe, irreparable emotional distress,
  16   rendering Plaintiffs unable and/or limited in their ability to function fully and
  17   normally in their daily lives.
  18                             ADMINISTRATIVE EXHAUSTION
  19         29.    Prior to initiating this lawsuit, on or about September 7, 2021,
  20   MONETT and MARIAH exhausted all administrative remedies by serving notices
  21   of claims for damages to the CITY in compliance with California Government
  22   Code section 910, both of which were rejected by a matter of law.
  23         30.     Prior to initiating this lawsuit, on or about September 30, 2021,
  24   GADISON exhausted all administrative remedies by serving a notice of claim for
  25   damages to the CITY in compliance with California Government Code section 910,
  26   which was rejected by a matter of law.
  27   //
  28
                                              - 11 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 12 of 36 Page ID #:12



   1                                  FIRST CAUSE OF ACTION
   2                                Violation of Bane Civil Rights Act
   3                                     (Cal. Civil Code § 52.1)
   4         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
   5         31.    PLAINTIFFS re-allege and incorporate by reference the allegations
   6   contained in all previous paragraphs, as though fully set forth at length herein.
   7         32.    The Tom Bane Civil Rights Act protects individuals from violence or
   8   threats of violence, coercion, or intimidation by any individual, corporation, or
   9   government entity against their body or property in the exercise or enjoyment of
  10   their civil rights, including rights secured by the U.S. Constitution, the California
  11   Constitution, and state or federal laws.
  12         33.    At the time of this incident, PLAINTIFFS were engaging in their Fifth
  13   Amendment right to travel, First Amendment rights to free speech and assembly
  14   and petition, and Fourth Amendment right to be free from unlawful searches and
  15   seizures, detention, arrest, and unreasonable and excessive use of force by the HPD.
  16         34.    The CITY, through the conduct of its employees and agents, including
  17   the HPD and DOES 1 through 25, inclusive, threatened and engaged in acts of
  18   violence against PLAINTIFFS and prevented PLAINTIFFS from exercising their
  19   civil rights, including but not limited to: (a) GADISON’s Fifth Amendment right to
  20   travel; (b) racial profiling of GADISON for a pretextual traffic stop, and unlawfully
  21   searching his vehicle based on his race being African American; and (c) MARIAH
  22   and MONETT’s First Amendment right to film HPD acts of excessive force and
  23   violence and other illegal conduct occurring on MARIAH and MONETT’s
  24   property; (d) and falsely imprisoning and arresting all PLAINTIFFS, causing
  25   PLAINTIFFS to be unlawfully detained, beaten, and arrested, without reasonable
  26   suspicion or probable cause.
  27         35.    The CITY, through the conduct of its employees and agents, including
  28
                                              - 12 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 13 of 36 Page ID #:13



   1   the HPD and DOES 1 through 25, inclusive, and with threats, intimidation, and/or
   2   coercion, caused PLAINTIFFS to reasonably believe that by exercising their civil
   3   rights, that the CITY, through its employees and agents, including the HPD and
   4   DOES 1 through 25, inclusive, would commit violence against PLAINTIFFS,
   5   including inflicting physical injury to the point of death.
   6         36.    The CITY, through the conduct of its employees and agents, including
   7   the HPD and DOES 1 through 25, inclusive, through its employees and agents,
   8   intended to deprive PLAINTIFFS of enjoyment of their right to travel, freely
   9   associate, and be free from unlawful searches, seizures, detention, arrest, and
  10   unreasonable and excessive use of force by the HPD.
  11         37.    As a direct and proximate result of the unlawful conduct of the CITY
  12   and DOES 1 through 25, inclusive, PLAINTIFFS have and will continue to suffer
  13   economic, physical, and emotional pain. PLAINTIFFS are therefore entitled to
  14   general and compensatory damages according to proof at the time of trial.
  15         38.    PLAINTIFFS are informed and believe and based thereon allege that
  16   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  17   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  18   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  19   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  20   award of exemplary and punitive damages against all non-government entity
  21   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  22   determined at the time of trial.
  23         39.    DEFENDANTS, and each of them, are liable to PLAINTIFFS for
  24   reasonable attorneys’ fees and costs of suit pursuant to California Civil Code
  25   section 52.1(i) and California Code of Civil section 1021.5.
  26   //
  27   //
  28
                                              - 13 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 14 of 36 Page ID #:14



   1                                SECOND CAUSE OF ACTION
   2                               Violation of Ralph Civil Rights Act
   3                                     (Cal. Civil Code § 51.7)
   4         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
   5         40.    PLAINTIFFS re-allege and incorporate by reference the allegations
   6   contained in all previous paragraphs, as though fully set forth at length herein.
   7         41.    The Ralph Civil Rights Act makes it unlawful to subject individuals to
   8   violence or intimidation by threat of violence based on race.
   9         42.          PLAINTIFFS are African American. The CITY, through the
  10   conduct of its employees and agents, including the HPD and DOES 1 through 25,
  11   inclusive, subjected PLAINTIFFS to violent conduct by, including but not limited
  12   to:
  13         (a)    forcibly removing GADISON from his vehicle, detaining and placing
  14                him in handcuffs, and roughly pinning him against his vehicle;
  15          (b)   swatting at MONETT, striking her phone from her hand; violently
  16                throwing her up against GADISON’s vehicle; placing her in severely
  17                tightened handcuffs; painfully shoving her hands unnaturally upward
  18                against her back with the objective of causing physical pain; having
  19                male officers needlessly and forcibly grab and probe MONETT’s
  20                vaginal area, rather than allowing a search to be performed by female
  21                offices; and roughly shoving MONETT into a squad car; and
  22         (c)    striking MARIAH’s phone out of her hand; knocking her to the
  23                ground; roughly grabbing her hair, yanking her head back and
  24                repeatedly slamming her face against the ground while yelling “shut
  25                the fuck up!”; having an officer hook his fingers under MARIAH’s jaw
  26                to yank her up from the ground, restricting her airway, causing her to
  27                choke and lose consciousness several times; then detaining and
  28
                                              - 14 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 15 of 36 Page ID #:15



   1                arresting MARIAH by placing her in severely tightened handcuffs,
   2                aggressively shoving her into a squad car and taking her to jail.
   3         43.    The violent and intimidating conduct of the CITY and DOES 1
   4   through 25, inclusive, was substantially motivated by PLAINTIFFS’ race, as
   5   evidenced, in part, by the HPD’s racial profiling of GADISON, including
   6   pretextually stopping him for a purported traffic violation, and the HPD’s use of
   7   unreasonable and excessive force against each of the PLAINTIFFS.
   8         44.    PLAINTIFFS were harmed by DEFENDANTS’ conduct, and
   9   DEFENDANTS’ conduct was a substantial factor in causing PLAINTIFFS’ harm.
  10         45.    As a direct and proximate result of the unlawful conduct of
  11   DEFENDANTS, PLAINTIFFS have and will continue to suffer economic,
  12   physical, and emotional injuries. PLAINTIFFS are thus entitled to general and
  13   compensatory damages according to proof at the time of trial.
  14         46.    PLAINTIFFS are informed and believe and based thereon allege that
  15   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  16   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  17   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  18   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  19   award of exemplary and punitive damages against all non-government entity
  20   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  21   determined at the time of trial.
  22         47.    DEFENDANTS, and each of them, are liable to PLAINTIFFS for
  23   reasonable attorneys’ fees and costs of suit pursuant to California Civil Code
  24   section 52.1(i) and California Code of Civil section 1021.5.
  25   //
  26   //
  27   //
  28
                                              - 15 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 16 of 36 Page ID #:16



   1                                 THIRD CAUSE OF ACTION
   2                                        Assault and Battery
   3                              (Cal. Govt. Code §§ 815.2(a), 820(a))
   4         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
   5         48.    PLAINTIFFS re-allege and incorporate by reference the allegations
   6   contained in all previous paragraphs, as though fully set forth at length herein.
   7         49.    Defendants DOES 1 through 25, inclusive, while working as police
   8   officers for the CITY and acting within the course and scope of their duties, not
   9   only intentionally physically attacked, detained, and arrested PLAINTIFFS, but also
  10   subjected PLAINTIFFS to unreasonable and excessive force despite PLAINTIFFS
  11   having no weapons and being of no threat to DEFENDANTS, or anyone else.
  12         50.    As a direct and legal result of the acts and omissions of
  13   DEFENDANTS, PLAINTIFFS suffered physical pain. PLAINTIFFS have and
  14   continue to suffer from life changing mental injuries including, but not limited to,
  15   emotional and psychological distress, and future earnings and earning capacity, the
  16   exact nature and extent of which are presently unknown to PLAINTIFFS but will
  17   be proven at the time of trial.
  18         51.    The CITY is vicariously liable for the wrongful acts of Defendants
  19   DOES 1 through 25, inclusive, under the doctrine of respondent superior and
  20   pursuant to California Government Code §815.2(a), which provides that a public
  21   entity is liable for the injuries caused by its employees within the scope of the
  22   employment where the employee’s act would subject him or her to liability.
  23         52.    PLAINTIFFS are informed and believe and based thereon allege that
  24   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  25   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  26   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  27   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  28
                                              - 16 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 17 of 36 Page ID #:17



   1   award of exemplary and punitive damages against all non-government entity
   2   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
   3   determined at the time of trial.
   4                                FOURTH CAUSE OF ACTION
   5                            Intentional Infliction of Emotional Distress
   6                              (Cal. Govt. Code §§ 815.2(a), 820(a))
   7         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
   8         53.    PLAINTIFFS re-allege and incorporate by reference the allegations
   9   contained in all previous paragraphs, as though fully set forth at length herein.
  10         54.    The CITY is vicariously liable for the wrongful acts of Defendants
  11   DOES 1 through 25, inclusive, under the doctrine of respondent superior and
  12   pursuant to California Government Code §815.2(a), which provides that a public
  13   entity is liable for the injuries caused by its employees within the scope of the
  14   employment where the employee’s act would subject him or her to liability.
  15         55.    DEFENDANTS engaged in outrageous conduct towards PLAINTIFFS
  16   so extreme that it went beyond all possible bounds of decency and that a reasonable
  17   person would regard as intolerable in a civilized community. DEFENDANTS
  18   engaged in such outrageous conduct towards PLAINTIFFS with the intention to
  19   cause, or with reckless disregard for the probability of causing, PLAINTIFFS to
  20   suffer severe emotional distress.
  21         56.    DEFENDANTS’ outrageous conduct towards PLAINTIFFS included,
  22   among other things:
  23         (a) forcibly removing GADISON from his vehicle, detaining and placing him
  24         in handcuffs, and roughly pinning him against his vehicle;
  25         (b) swatting at MONETT, striking her phone from her hand; violently
  26         throwing her up against GADISON’s vehicle; placing her in severely
  27         tightened handcuffs; painfully shoving her hands unnaturally upward against
  28
                                              - 17 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 18 of 36 Page ID #:18



   1         her back with the objective of causing physical pain; having male officers
   2         needlessly and forcibly grab and probe MONETT’s vaginal area, rather than
   3         allowing a search to be performed by female offices; and roughly shoving
   4         MONETT into a squad car; and
   5         (c) striking MARIAH’s phone out of her hand; knocking her to the ground;
   6         roughly grabbing her hair, yanking her head back and repeatedly slamming
   7         her face against the ground while yelling “shut the fuck up!”; having an
   8         officer hook his fingers under MARIAH’s jaw to yank her up from the
   9         ground, restricting her airway, causing her to choke and lose consciousness
  10         several times; then detaining and arresting MARIAH by placing her in
  11         severely tightened handcuffs, aggressively shoving her into a squad car and
  12         taking her to jail.
  13         57.    All of this HPD conduct occurred while four young children cried and
  14   screamed in agony, helplessly watching their mother, father and grandmother
  15   beaten and treated like animals, and their dogs beaten like their parents and
  16   grandmother. As PLAINTIFFS experienced the harm inflicted on them, they also
  17   felt helpless in protecting their children from the fear, harm and insecurity created
  18   by the spectacle of HPD officer engaging in unfettered acts of violence and
  19   excessive force.
  20         58.    To the extent that such outrageous conduct was perpetrated by certain
  21   DEFENDANTS, the remaining DEFENDANTS adopted and ratified the conduct
  22   with a wanton and reckless disregard of the deleterious consequences to
  23   PLAINTIFFS.
  24         59.    As a direct and proximate result of the unlawful conduct of
  25   DEFENDANTS, and each of them, PLAINTIFFS have and will continue to suffer
  26   special damages, including but not limited to, past and future loss of income,
  27   benefits, medical expenses, and other damages to be proven at the time of trial.
  28
                                              - 18 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 19 of 36 Page ID #:19



   1         60.    As a direct and proximate result of the unlawful conduct of
   2   DEFENDANTS, and each of them, PLAINTIFFS have and will continue to suffer
   3   general damages including but not limited to shock, embarrassment, physical
   4   distress and injury, humiliation, emotional distress, stress and other damages to be
   5   proven at the time of trial.
   6         61.    PLAINTIFFS are informed and believe and based thereon allege that
   7   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
   8   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
   9   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  10   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  11   award of exemplary and punitive damages against all non-government entity
  12   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  13   determined at the time of trial.
  14                                     FIFTH CAUSE OF ACTION
  15                                     False Arrest and Imprisonment
  16                                  (Cal. Govt. Code §§ 815.2(a), 820(a))
  17         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
  18         62.    PLAINTIFFS re-allege and incorporate by reference the allegations
  19   contained in all previous paragraphs, as though fully set forth at length herein.
  20         63.    The CITY is vicariously liable for the wrongful acts of Defendants
  21   DOES 1 through 25, inclusive, under the doctrine of respondent superior and
  22   pursuant to California Government Code §815.2(a), which provides that a public
  23   entity is liable for the injuries caused by its employees within the scope of the
  24   employment where the employee’s act would subject him or her to liability.
  25         64.    The CITY, through the conduct of its employees and agents, including
  26   the HPD and DOES 1 through 25, inclusive, intentionally deprived PLAINTIFFS’
  27   freedom of movement by use of physical force, threats of force, and violence.
  28
                                               - 19 -
                                COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 20 of 36 Page ID #:20



   1         65.    The restraint, confinement, and detention of PLAINTIFFS by
   2   DEFENDANTS, and each of them, was performed without reasonable suspicion or
   3   probable cause and for an unreasonable length of time. During the unreasonable
   4   detention of PLAINTIFFS, they were prevented from leaving the location of the
   5   incident, the HPD squad vehicles, or the jail.
   6         66.    PLAINTIFFS were harmed by DEFENDANTS’ conduct, and
   7   DEFENDANTS’ conduct was a substantial factor in causing PLAINTIFFS’ harm.
   8         67.    As a direct and proximate result of the unlawful conduct of
   9   DEFENDANTS, PLAINTIFFS have and will continue to suffer economic,
  10   physical, and emotional injuries. PLAINTIFFS are thus entitled to general and
  11   compensatory damages according to proof at the time of trial.
  12         68.    PLAINTIFFS are informed and believe and based thereon allege that
  13   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  14   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  15   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  16   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  17   award of exemplary and punitive damages against all non-government entity
  18   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  19   determined at the time of trial.
  20                                      SIXTH CAUSE OF ACTION
  21                                       Trespass to Chattels
  22                              (MARIAH and MONETT Against the
  23                            CITY and DOES 1 through 25, inclusive)
  24         69.    MARIAH and MONETT re-allege and incorporate by reference the
  25   allegations contained in all previous paragraphs, as though fully set forth at length
  26   herein.
  27         70.    The CITY is vicariously liable for the wrongful acts of Defendants
  28
                                              - 20 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 21 of 36 Page ID #:21



   1   DOES 1 through 25, inclusive, under the doctrine of respondent superior and
   2   pursuant to California Government Code §815.2(a), which provides that a public
   3   entity is liable for the injuries caused by its employees within the scope of the
   4   employment where the employee’s act would subject him or her to liability.
   5         71.    All of the CITY’s police officers, including DOES 1 through 25,
   6   inclusive, have a duty to use reasonable care to prevent harm or injury to others and
   7   to their property. This duty includes using appropriate tactics, giving appropriate
   8   commands, giving warnings, and generally avoiding use of any force unless
   9   necessary and appropriate to the circumstances, and providing timely and
  10   reasonable medical care.
  11         72.    The CITY has a duty to enforce adequate training, procedure, policy,
  12   and/or discipline in regard to approaching, detaining, and interacting with suspects,
  13   civilians, and other lay persons without exercising unreasonable and excessive use
  14   of force.
  15         73.    MARIAH and MONETT were the lawful owners and/or guardians of
  16   two dogs named “Blue” and “Rocky.”
  17         74.    DEFENDANTS intentionally and recklessly interfered with MARIAH
  18   and MONETT’s use and possession of Blue and Rocky by lifting Blue up by the
  19   collar and violently throwing him to the ground and using a baton to brutally beat
  20   Rocky, to the point of requiring veterinary treatment.
  21         75.    MARIAH and MONETT kept and maintained their dogs physical
  22   restrained on PLAINTIFFS’ private property and at no time consented to
  23   DEFENDANTS’ interference with PLAINTIFFS’ use and possession of their dogs
  24   in the hateful acts of aggression committed by DEFENDANTS.
  25         76.    MARIAH and MONETT were harmed, and DEFENDANTS’ conduct
  26   was a substantial factor in causing their harm.
  27         77.    As a direct and proximate result of the unlawful conduct of
  28
                                              - 21 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 22 of 36 Page ID #:22



   1   DEFENDANTS, PLAINTIFFS have and will continue to suffer economic and
   2   emotional injuries. PLAINTIFFS are thus entitled to general and compensatory
   3   damages according to proof at the time of trial. “[W]e uphold both the economic
   4   and emotional distress damages plaintiffs recovered for trespass to personal
   5   property arising from [defendant]’s act of intentionally striking [plaintiff’s dog]
   6   with a bat.” Plotnik v. Meihaus, 208 Cal. App. 4th 1590, 1608 (2012).
   7                            SEVENTH CAUSE OF ACTION
   8                                         Negligence
   9               (Cal. Govt. Code §§ 815.2(a), 820(a) and California Common Law)
  10         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
  11         78.    PLAINTIFFS re-allege and incorporate by reference the allegations
  12   contained in all previous paragraphs, as though fully set forth at length herein.
  13         79.    The CITY is vicariously liable for the wrongful acts of Defendants
  14   DOES 1 through 25, inclusive, under the doctrine of respondent superior and
  15   pursuant to California Government Code §815.2(a), which provides that a public
  16   entity is liable for the injuries caused by its employees within the scope of the
  17   employment where the employee’s act would subject him or her to liability.
  18         80.    All of the CITY’s police officers, including DOES 1 through 25,
  19   inclusive, have a duty to use reasonable care to prevent harm or injury to others.
  20   This duty includes using appropriate tactics, giving appropriate commands, giving
  21   warnings, avoiding use of any force unless necessary, and providing timely and
  22   reasonable medical care.
  23         81.    The CITY has a duty to enforce adequate training, procedure, policy,
  24   and/or discipline in regard to approaching, detaining, and interacting with suspects,
  25   civilians, and other lay persons without exercising unreasonable and excessive use
  26   of force.
  27         82.    DEFENDANTS breached this duty of care and their actions and
  28
                                              - 22 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 23 of 36 Page ID #:23



   1   inactions were negligent and reckless, as evidenced, in part, by their:
   2         a.     Failure to properly and adequately assess the need to use excessive
   3                force against PLAINTIFFS;
   4         b.     failure to monitor and record any use of force by Defendants DOES 1
   5                through 25, inclusive;
   6         c.     failure to monitor and record any injuries specifically caused by the
   7                use of excessive force by Defendants DOES 1 through 25, inclusive;
   8         d.     negligent use of unreasonable and excessive force against
   9                PLAINTIFFS;
  10         e.     failure to provide prompt, timely, and reasonable medical care to
  11                PLAINTIFFS;
  12         f.     failure to properly train and supervise employees, both professional
  13                and non-professional, including Defendants DOES 1 through 25,
  14                inclusive; and
  15         g.     negligent handling of evidence and witnesses.
  16         83.    DEFENDANTS engaged in negligent and reckless conduct, as
  17   described in detail above.
  18         84.    PLAINTIFFS were harmed by DEFENDANTS’ conduct, and
  19   DEFENDANTS’ conduct was a substantial factor in causing PLAINTIFFS’ harm.
  20         85.    As a direct and proximate result of the unlawful conduct of
  21   DEFENDANTS, PLAINTIFFS have and will continue to suffer economic,
  22   physical, and emotional injuries. PLAINTIFFS are thus entitled to general and
  23   compensatory damages according to proof at the time of trial.
  24         86.    PLAINTIFFS are informed and believe and based thereon allege that
  25   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  26   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  27   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  28
                                              - 23 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 24 of 36 Page ID #:24



   1   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
   2   award of exemplary and punitive damages against all non-government entity
   3   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
   4   determined at the time of trial.
   5                                  EIGHTH CAUSE OF ACTION
   6                                Deprivation of Civil Rights Based on
   7                             Excessive and Unreasonable Use of Force
   8                                         (42 U.S.C. § 1983)
   9            (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
  10            87.   PLAINTIFFS re-allege and incorporate by reference the allegations
  11   contained in all previous paragraphs, as though fully set forth at length herein.
  12            88.   PLAINTIFFS bring this claim under 42 U.S.C. § 1983 for violation of
  13   the Fourth Amendment of the U.S. Constitution, which precludes Defendants the
  14   CITY and DOES 1 through 25, inclusive, from using unreasonable and excessive
  15   force.
  16            89.   “The right to be free from excessive force in the context of an arrest is
  17   clearly established under the Fourth Amendment.” Small v. McCrystal, 708 F.3d
  18   997, 1005 (8th. Cir. 2013) (citation omitted). “We analyze the excessive force
  19   claims of pretrial detainees under an objective reasonableness standard.” Ryan v.
  20   Armstrong, 850 F.3d 419, 427 (8th Cir. 2017). “Circumstances relevant to the
  21   reasonableness of the officer’s conduct include ‘the severity of the crime at issue,
  22   whether the suspect poses an immediate threat to the safety of the officers or others,
  23   and whether he is actively resisting arrest or attempting to evade arrest by flight.’”
  24   Brown v. City of Golden Valley, 574 F.3d 491, 496 (8th Cir. 2009) (citation
  25   omitted).
  26            90.   The use of force against PLAINTIFFS by DEFENDANTS was
  27   unreasonable in light of the totality of the circumstances, including but not limited
  28
                                               - 24 -
                                COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 25 of 36 Page ID #:25



   1   to:
   2         a.     PLAINTIFFS were targeted, physically restrained, detained, and
   3                subjected to physical violence solely because of their race;
   4         b.     PLAINTIFFS were engaging in lawful conduct at all times relevant
   5                and were not armed with any kind of weapon, and posed no reasonable
   6                or credible threat of violence or injury to any HPD officer, nor to any
   7                other individual;
   8         c.     PLAINTIFFS were assaulted and battered by DEFENDANTS on
   9                private property;
  10         d.     DEFENDANTS forcibly removed GADISON from his vehicle, placed
  11                him in severely tightened handcuffs, and roughly pinned the front of
  12                his body against his vehicle without reasonable suspicion and/or
  13                probable cause;
  14         e.     The length of time of the physical restraint, detention, and handcuffing.
  15         91.    Both prior to and during PLAINTIFFS being subjected to assault and
  16   battery by DEFENDANTS, PLAINTIFFS made no aggressive movements, furtive
  17   gestures, or physical movements which would suggest to a reasonable peace officer
  18   that any of the PLAINTIFFS were armed with any kind of weapon or had the will
  19   or the ability to inflict bodily harm against any individual.
  20         92.    Both prior to and during PLAINTIFFS being subjected to assault and
  21   battery by DEFENDANTS, PLAINTIFFS were not actively resisting or obstructing
  22   any of the HPD officers in the performance of their duties, were not fleeing or
  23   attempting to flee from the involved HPD officers and were not undertaking any
  24   actions which would have led a reasonable peace officer to believe that
  25   PLAINTIFFS posed a risk of violence or injury to any person.
  26         93.    As a direct and legal result of the acts and omissions of
  27   DEFENDANTS, PLAINTIFFS have and will continue to suffer from pain and
  28
                                              - 25 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 26 of 36 Page ID #:26



   1   physical injury and life changing mental injuries including, but not limited to,
   2   emotional and psychological distress, and future earnings and earning capacity, the
   3   exact nature and extent of which are presently unknown to the PLAINTIFFS but
   4   will be proven at the time of trial.
   5         94.    PLAINTIFFS are informed and believe and based thereon allege that
   6   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
   7   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
   8   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
   9   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  10   award of exemplary and punitive damages against all non-government entity
  11   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  12   determined at the time of trial.
  13         95.    PLAINTIFFS are entitled to and will seek reasonable attorneys’ fees
  14   and costs of suit, pursuant to 42 U.S.C. § 1988.
  15                                 NINTH CAUSE OF ACTION
  16                               Deprivation of Civil Rights Based on
  17                               Monell Claim for Municipal Liability
  18                                          (42 U.S.C. § 1983)
  19                                (PLAINTIFFS Against the CITY)
  20         96.    PLAINTIFFS re-allege and incorporate by reference the allegations
  21   contained in all previous paragraphs, as though fully set forth at length herein.
  22         97.    Municipal bodies are liable for constitutional violations under 42
  23   U.S.C. § 1983 when execution of its official policy or custom deprives an
  24   individual of its rights protected under the Constitution. See Monell v. Department
  25   of Social Services, 436 U.S. 658, 694-95 (1978). Such municipal liability exists
  26   where a city fails to properly train, supervise, and discipline its employees
  27   amounting in a deliberate indifference to one’s constitutional rights. See City of
  28
                                              - 26 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 27 of 36 Page ID #:27



   1   Canton, Ohio v. Harris, 489 U.S. 378 (1989); Patzner v. Burkett, 779 F.2d 1363,
   2   1367 (8th Cir. 1985); Wellington v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983).
   3         98.    At all times relevant, Defendant the CITY had a duty to properly train,
   4   supervise, and discipline its HPD officers, including DOES 1 through 25, inclusive.
   5   The CITY failed to adequately and properly train its law enforcement officers to
   6   handle the usual and recuring situations with which they must deal, or how, when
   7   and under what circumstances lethal and nonlethal use of force is warranted, or the
   8   threat of such lethal force, and not to use excessive force. The CITY was
   9   deliberately indifferent to the obvious consequences of its failure to adequately train
  10   HPD officers.
  11         99.    Failure of the CITY to provide adequate training, including with regard
  12   to use of force, and threats of use of force, caused the deprivation of PLAINTIFFS’
  13   rights by the CITY. The CITY’s failure to train is so closely related to the
  14   unconstitutional use of excessive force and unlawful seizure, detention, and arrest
  15   against PLAINTIFFS as to be the moving force underlying same against
  16   PLAINTIFFS.
  17         100. With respect to Defendants DOES 1 through 25, inclusive, the CITY
  18   failed to properly and adequately discipline, reprimand, retrain, suspend, or
  19   otherwise penalize conduct and actions in connection with the unprovoked used of
  20   excessive force and unlawful seizure, detention, and arrest of PLAINTIFFS.
  21         101. The CITY, together with policy makers and supervisors, maintained
  22   and engaged in the following unconstitutional customs, practices, and policies:
  23         a.     Use and threats of use of excessive force;
  24         b.     Providing inadequate training regarding the use of excessive force;
  25         c.     Employing and retaining peace officer individuals, such as Defendants
  26                DOES 1 through 25, inclusive, who the CITY, including the HPD, at
  27                all times material herein knew or reasonably should have known had
  28
                                              - 27 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 28 of 36 Page ID #:28



   1                dangerous propensities for abusing their authority and for using
   2                excessive force;
   3         d.     Inadequately supervising, training, controlling, assigning, and
   4                disciplining HPD officers, and other personnel, including Defendants
   5                DOES 1 through 25, inclusive, who the CITY, including the HPD,
   6                knew or in the exercise of reasonable care should have known had the
   7                aforementioned propensities and character traits;
   8         e.     Maintaining grossly inadequate procedures for reporting, supervising,
   9                investigating, reviewing, disciplining, and controlling misconduct by
  10                HPD officer, namely Defendants DOES 1 through 25, inclusive;
  11         f.     Failure to adequately discipline Defendants DOES 1 through 25,
  12                inclusive, regarding the magnitude of the misconduct, and other
  13                inadequate discipline that is tantamount to encouraging misconduct;
  14                and
  15         g.     Failure to professionally train peace officers on the proper use of
  16                nonlethal force.
  17         102. By reason of the aforementioned acts and omissions, PLAINTIFFS
  18   have and will continue to suffer from pain, physical and life changing mental
  19   injuries including, but not limited to, emotional and psychological distress, and loss
  20   of future earnings and earning capacity, the exact nature and extent of which are
  21   presently unknown to the PLAINTIFFS but will be proven at the time of trial.
  22         103. The CITY, together with various officials whether named or unnamed,
  23   had either actual or constructive knowledge of the deficient policies, practices and
  24   customs alleged in the paragraphs above. By perpetrating, sanctioning, tolerating,
  25   and ratifying the outrageous conduct and other wrongful acts, Defendants the CITY
  26   acted with intentional, reckless, and callous disregard for the PLAINTIFFS’
  27   constitutional rights. Furthermore, the policies, practices, and customs
  28
                                              - 28 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 29 of 36 Page ID #:29



   1   implemented, maintained, and still tolerated by the CITY were affirmatively linked
   2   to and were a significantly influential force behind the deprivation of
   3   PLAINTIFFS’ civil rights, including the right to be free from excessive force and
   4   unlawful seizure, detention, and arrest.
   5         104. PLAINTIFFS are entitled to and will seek reasonable attorneys’ fees
   6   and costs of suit, pursuant to 42 U.S.C. § 1988.
   7                                 TENTH CAUSE OF ACTION
   8                       Deprivation of Civil Rights and Equal Protection –
   9                             Unlawful Detention, Seizure, and Arrest
  10                                        (42 U.S.C. § 1983)
  11         (PLAINTIFFS Against the CITY and DOES 1 through 25, inclusive)
  12         105. PLAINTIFFS re-allege and incorporate by reference the allegations
  13   contained in all previous paragraphs, as though fully set forth at length herein.
  14         106. At all times relevant to the acts and omissions herein alleged,
  15   Defendants DOES 1 through 25, inclusive, were employed by the CITY as law
  16   enforcement officers and were acting under color of law and in the course and
  17   scope of their employment.
  18         107. At all times relevant herein, PLAINTIFFS had a constitutionally
  19   afforded right to equal protection under the law as afforded by the Fourteenth
  20   Amendment and protected by the same and 42 U.S.C. §1983. PLAINTIFFS allege
  21   that the substantial and motivating reason for the use of excessive force and their
  22   unlawful seizure, detention, and arrest, by the CITY and DOES 1 through 25,
  23   inclusive, was because of PLAINTIFFS’ race and was without any reasonable
  24   suspicion and/or probable cause that PLAINTIFFS engaged in unlawful conduct.
  25         108. At all times relevant herein, PLAINTIFFS had a constitutionally
  26   afforded right against unlawful arrests not based on any reasonable suspicion and/or
  27   objective probable cause that PLAINTIFFS had committed any crime.
  28
                                              - 29 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 30 of 36 Page ID #:30



   1   PLAINTIFFS allege that Defendants the CITY and DOES 1 through 25, inclusive,
   2   had no information that PLAINTIFFS had threatened or were a threat to anyone or
   3   had committed any crime. Further, DEFENDANTS had no information sufficient to
   4   establish reasonable suspicion to seize/detain PLAINTIFFS and/or probable cause
   5   to suspect that PLAINTIFFS had engaged, were engaging, or were about to engage
   6   in any crime.
   7         109. PLAINTIFFS’ detention, seizure, and arrest was unlawful because it
   8   was unreasonable in time and/or manner unnecessarily painful, degrading, harmful,
   9   intrusive, humiliating, prolonged, and not justified under the circumstances.
  10   DEFENDANTS unreasonably seized, detained, and arrested PLAINTIFFS in a
  11   fearsome, degrading, prolonged, intimidating, intrusive, and embarrassing manner
  12   despite no reasonable belief that PLAINTIFFS were armed, or verbally or
  13   physically resisting them, or attempting to flee or a threat of death or serious bodily
  14   harm to anyone, including Defendants DOES 1 through 25, inclusive.
  15         110. As a direct and legal result of the acts and omissions of
  16   DEFENDANTS, PLAINTIFFS have and will continue to suffer from pain,
  17   physical and life changing mental injuries including, but not limited to, emotional
  18   and psychological distress, and loss of future earnings and earning capacity, the
  19   exact nature and extent of which are presently unknown to the PLAINTIFFS but
  20   will be proven at the time of trial.
  21         111. PLAINTIFFS are informed and believe and based thereon allege that
  22   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  23   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  24   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  25   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  26   award of exemplary and punitive damages against all non-government entity
  27   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  28
                                              - 30 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 31 of 36 Page ID #:31



   1   determined at the time of trial.
   2         112. PLAINTIFFS are entitled to and will seek reasonable attorneys’ fees
   3   and costs of suit, pursuant to 42 U.S.C. § 1988.
   4                              ELEVENTH CAUSE OF ACTION
   5                         Deprivation of Civil Rights Based on Violation
   6                          of the First Amendment (Freedom of Speech)
   7                                        (42 U.S.C. § 1983)
   8                           (MARIAH and MONETT Against the CITY
   9                                and DOES 1 through 25, inclusive)
  10         113. MARIAH and MONETT re-allege and incorporate by reference the
  11   allegations contained in all previous paragraphs, as though fully set forth at length
  12   herein.
  13         114. At all times relevant to the acts and omissions herein alleged,
  14   Defendants DOES 1 through 25, inclusive, were employed by the CITY as law
  15   enforcement officers and were acting under color of law and in the course and
  16   scope of their employment.
  17         115. At all times relevant herein, MARIAH and MONETT held and
  18   engaged in constitutionally protected freedom of speech by (a) filming the conduct
  19   of HPD officers while on PLAINTIFFS’ private property, and (b) voicing verbal
  20   objections of excessive force and officer misconduct by HPD officers. Recording
  21   governmental officers engaged in public duties is a form of speech through which
  22   private individuals may gather and disseminate information of public concern,
  23   including the conduct of law enforcement officers. See, e.g., Glik v. Cunniffe, 655
  24   F. 3d 78, 82 (1st Cir. 2011) (“[b]asic First Amendment principles” and federal case
  25   law “unambiguously” establish that private individuals possess “a constitutionally
  26   protected right to videotape police carrying out their duties.”); Smith v. Cumming,
  27   212 F. 3d. 1332, 1333 (11th Cir. 2000) (recognizing the “First Amendment right . . .
  28
                                              - 31 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 32 of 36 Page ID #:32



   1   to photograph or videotape police conduct.”); Fordyce v. City of Seattle, 55 F. 3d
   2   436, 439 (9th Cir. 1995) (recognizing the “First Amendment right to film matters of
   3   public interest.”) The right to “[g]ather[] information about government officials in
   4   a form that can be readily disseminated to others serves as a cardinal First
   5   Amendment interest in protecting and promoting ‘the free discussion of
   6   governmental affairs.’” Glik, 655 F. 3d at 82 (citing Mills v. Alabama, 384 U.S.
   7   214, 218 (1966)).
   8         116. The application of this right to the conduct of law enforcement officers
   9   is critically important because officers are “granted substantial discretion that may
  10   be used to deprive individuals of their liberties.” Id.; Gentile v. State Bar of Nev.,
  11   501 U.S. 1030, 1035-36 (1991) (“Public awareness and criticism have even greater
  12   importance where, as here, they concern allegations of police corruption.”). The
  13   “extensive public scrutiny and criticism” of police and other criminal justice system
  14   officials serves to “guard[] against the miscarriage of justice,” Nebraska Press
  15   Association v. Stuart, 427 U.S. 539, 560 (1976) (citing Sheppard v. Maxwell, 384
  16   U.S. 333, 350 (1966)), a harm that undermines public confidence in the
  17   administration of government. When police departments take affirmative steps to
  18   protect individuals’ First Amendment rights, departments “not only aid[] in the
  19   uncovering of abuses . . . but also may have a salutary effect on the functioning of
  20   government more generally.” Glik, 655 F.3d at 82-83. Courts have also extended
  21   First Amendment protection to recordings taken on private property, including an
  22   individual filming police activity from his or her home or other private property
  23   where an individual has a right to be present. See Jean v. Massachusetts State
  24   Police, 492 F. 3d 24 (1st Cir. 2007) (activist’s posting of a video of “a warrantless
  25   and potentially unlawful search of a private residence” on her website was entitled
  26   to First Amendment protection); Pomykacz v. Borough of West Wildwood, 438 F.
  27   Supp. 2d 504, 513 (D. N.J. 2006) (individual was engaging in political activism
  28
                                              - 32 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 33 of 36 Page ID #:33



   1   protected by the First Amendment when she photographed police officer while
   2   officer was in police headquarters and in municipal building); Robinson v.
   3   Fetterman, 378 F. Supp. 2d 534, 541 (E.D. Pa. 2005) (individual who videotaped
   4   state troopers from private property with the owner’s permission was engaged in
   5   constitutionally protected speech). An individual’s conduct does not constitute
   6   interference if he or she expresses criticism of the police, or police activity being
   7   observed. See City of Houston, Tex. v. Hill, 482 U.S. 451, 461 (1987) (“[T]he First
   8   Amendment protects a significant amount of verbal criticism and challenge directed
   9   at police officers.”); Norwell v. City of Cincinnati, Ohio, 414 U.S. 14, 16 (1973)
  10   (“Surely, one is not to be punished for non-provocatively voicing his objection to
  11   what he obviously felt was a highly questionable detention by a police officer.”)
  12   Even foul expressions of disapproval towards police officers are protected under the
  13   First Amendment. See, e.g., Duran v. City of Douglas, Arizona, 904 F. 2d 1372,
  14   1377-78 (9th Cir. 1990) (individual who was “making obscene gestures” and
  15   “yell[ed] profanities” at an officer engaged in conduct that “fell squarely within the
  16   protective umbrella of the First Amendment and any action to punish or deter such
  17   speech—such as stopping or hassling the speaker—is categorically prohibited by
  18   the Constitution.”).
  19         117. In response to MARIAH and MONETT engaging in protected First
  20   Amendment conduct, HPD officers brutally attacked PLAINTIFFS by:
  21         (a)    swatting at MONETT, striking her phone from her hand; violently
  22                throwing her up against GADISON’s vehicle; placing her in severely
  23                tightened handcuffs; painfully shoving her hands unnaturally upward
  24                against her back with the objective of causing physical pain; having
  25                male officers needlessly and forcibly grab and probe MONETT’s
  26                vaginal area, rather than allowing a search to be performed by female
  27                offices; and roughly shoving MONETT into a squad car; and
  28
                                              - 33 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 34 of 36 Page ID #:34



   1          (b)   striking MARIAH’s phone out of her hand; knocking her to the
   2                ground; roughly grabbing her hair, yanking her head back and
   3                repeatedly slamming her face against the ground while yelling “shut
   4                the fuck up!”; having an officer hook his fingers under MARIAH’s jaw
   5                to yank her up from the ground, restricting her airway, causing her to
   6                choke and lose consciousness several times; then detaining and
   7                arresting MARIAH by placing her in severely tightened handcuffs,
   8                aggressively shoving her into a squad car and taking her to jail.
   9          118. DEFENDANTS engaged in the aforementioned conduct with the
  10   intent to deprive MARIAH and MONETT from exercising their First Amendment
  11   rights. As a direct and legal result of the acts and omissions of DEFENDANTS,
  12   PLAINTIFFS have and will continue to suffer from pain, physical and life changing
  13   mental injuries including, but not limited to, emotional and psychological distress,
  14   and loss of future earnings and earning capacity, the exact nature and extent of
  15   which are presently unknown to the PLAINTIFFS but will be proven at the time
  16   of trial.
  17          119. PLAINTIFFS are informed and believe and based thereon allege that
  18   the CITY and DOES 1 through 25, inclusive, and each of them by engaging in the
  19   aforementioned acts and/or in authorizing and/or ratifying such acts, engaged in
  20   willful, malicious, intentional, oppressive and despicable conduct, and acted with a
  21   conscious disregard for the rights of PLAINTIFFS, entitling PLAINTIFFS to an
  22   award of exemplary and punitive damages against all non-government entity
  23   defendants, including Defendants DOES 1 through 25, inclusive, in an amount to be
  24   determined at the time of trial.
  25          120. PLAINTIFFS are entitled to and will seek reasonable attorneys’ fees
  26   and costs of suit, pursuant to 42 U.S.C. § 1988.
  27   //
  28
                                              - 34 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 35 of 36 Page ID #:35



   1                               PRAYER FOR RELIEF
   2         WHEREFORE, PLAINTIFFS request entry of judgement in their favor and
   3   against Defendants the CITY and DOES 1 through 25, inclusive, as follows:
   4         1.    For general and special damages according to proof;
   5         2.    For pre-judgment and post-judgment interest;
   6         3.    For punitive damages against DOES 1 through 25, inclusive;
   7         4.    For attorneys’ fees and costs as allowed by law;
   8         5.    For civil penalties as allowed by law;
   9         6.    For such other relief as the Court may deem just and proper.
  10

  11   DATED: March 3, 2022       Respectfully Submitted,
  12

  13                                  TONI J. JARAMILLA, A Professional Law Corp.
  14                                  ALEXANDER MORRISON + FEHR LLP
  15

  16                                        By: /s/ Toni J. Jaramilla
                                              Toni J. Jaramilla
  17                                          J. Bernard Alexander, III
  18                                          John L. Schwab
                                              Attorneys for PLAINTIFFS
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                            - 35 -
                             COMPLAINT AND DEMAND FOR JURY TRIAL
Case 5:22-cv-00394-JWH-SHK Document 1 Filed 03/03/22 Page 36 of 36 Page ID #:36


                                    DEMAND FOR JURY TRIAL
   1

   2              PLAINTIFFS hereby request trial by jury on all claims and issues that are so
   3   triable.
   4
       DATED: March 3, 2022            Respectfully Submitted,
   5

   6
                                          TONI J. JARAMILLA, A Professional Law Corp.
   7
                                          ALEXANDER MORRISON + FEHR LLP
   8

   9                                            By: /s/ Toni J. Jaramilla
  10                                              Toni J. Jaramilla
                                                  J. Bernard Alexander, III
  11                                              John L. Schwab
  12                                              Attorneys for PLAINTIFFS

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                 - 36 -
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
